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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------- X
UNITED STATES OF AMERICA,                                  :
                                                           :                     ORDER
                  -v-                                      :
                                                           :
RAUL POLANCO,                                              :                  19 Cr. 0930 (ER)
                                                           :
                                    Defendant.             :
---------------------------------------------------------- X

Ramos, D.J.:

        The telephonic pretrial conference previously scheduled for October 21, 2020, is

rescheduled for October 22, 2020, at 10:30 a.m.

        Counsel should call (877) 411-9748 and use access code 3029857#. (Members of the

press and public may call the same number, but will not be permitted to speak during the

conference.) Counsel should adhere to the following rules and guidelines during the hearing:

             1. Each party should designate a single lawyer to speak on its behalf (including
                when noting the appearances of other counsel on the telephone).

             2. Counsel should use a landline whenever possible, should use a headset instead of
                a speakerphone, and must mute themselves whenever they are not speaking to
                eliminate background noise. In addition, counsel should not use voice-activated
                systems that do not allow the user to know when someone else is trying to speak
                at the same time.

             3. To facilitate an orderly teleconference and the creation of an accurate transcript,
                counsel are required to identify themselves every time they speak. Counsel
                should spell any proper names for the court reporter. Counsel should also take
                special care not to interrupt or speak over one another.
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         4. If there is a beep or chime indicating that a new caller has joined while counsel is
            speaking, counsel should pause to allow the Court to ascertain the identity of the
            new participant and confirm that the court reporter has not been dropped from the
            call.

      SO ORDERED.


Dated: October 16, 2020
       New York, New York
                                                          ____________________________
                                                          Edgardo Ramos, U.S.D.J.




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                              WAIVER OF RIGHT TO BE
                             -v-                                              PRESENT AT CRIMINAL
                                                                              PROCEEDING
                                    ,
                                       Defendant.                               -CR-    ( )( )
-----------------------------------------------------------------X

Check Proceeding that Applies

____     Entry of Plea of Guilty

         I am aware that I have been charged with violations of federal law. I have consulted with
         my attorney about those charges. I have decided that I wish to enter a plea of guilty to
         certain charges. I understand I have a right to appear before a judge in a courtroom in
         the Southern District of New York to enter my plea of guilty and to have my attorney
         beside me as I do. I am also aware that the public health emergency created by the
         COVID-19 pandemic has interfered with travel and restricted access to the federal
         courthouse. I have discussed these issues with my attorney. By signing this document, I
         wish to advise the court that I willingly give up my right to appear in person before the
         judge to enter a plea of guilty. By signing this document, I also wish to advise the court
         that I willingly give up any right I might have to have my attorney next to me as I enter my
         plea so long as the following conditions are met. I want my attorney to be able to
         participate in the proceeding and to be able to speak on my behalf during the proceeding.
         I also want the ability to speak privately with my attorney at any time during the
         proceeding if I wish to do so.



Date:              _________________________                                ____________________________
                   Print Name                                        Signature of Defendant



____     Sentence

         I understand that I have a right to appear before a judge in a courtroom in the Southern
         District of New York at the time of my sentence and to speak directly in that courtroom
         to the judge who will sentence me. I am also aware that the public health emergency
         created by the COVID-19 pandemic has interfered with travel and restricted access to the
         federal courthouse. I do not wish to wait until the end of this emergency to be sentenced.

                                                               3
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        I have discussed these issues with my attorney and willingly give up my right to be
        present, at the time my sentence is imposed, in the courtroom with my attorney and the
        judge who will impose that sentence. By signing this document, I wish to advise the court
        that I willingly give up my right to appear in a courtroom in the Southern District of New
        York for my sentencing proceeding as well as my right to have my attorney next to me at
        the time of sentencing on the following conditions. I want my attorney to be able to
        participate in the proceeding and to be able to speak on my behalf at the proceeding.
        I also want the ability to speak privately with my attorney at any time during the
        proceeding if I wish to do so.


Date:          _________________________                    ____________________________
               Print Name                            Signature of Defendant

I hereby affirm that I am aware of my obligation to discuss with my client the charges against my
client, my client’s rights to attend and participate in the criminal proceedings encompassed by
this waiver, and this waiver and consent form. I affirm that my client knowingly and voluntarily
consents to the proceedings being held with my client and me both participating remotely.


Date:          __________________________                   _____________________________
               Print Name                            Signature of Defense Counsel



Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter
also translated this document, in its entirety, to the defendant before the defendant signed it.
The interpreter’s name is: _______________________.


Date:          _________________________
                Signature of Defense Counsel




Accepted:      ________________________
               Signature of Judge
               Date:




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